            Case 1:20-cv-07311-LAK Document 25 Filed 10/21/20 Page 1 of 1



                                                    U.S. Department of Justice

                                                    Civil Division
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Washington, DC 20044
JGT:KLW:STerrell/DJ# XXX-XX-XXXX

                                                    October 21, 2020

BY ECF

Hon. Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

         RE:       Carroll v. Trump, No. 1:20-cv-7311-LAK-JLC (S.D.N.Y.)

Your Honor:

               The United States of America, by its undersigned counsel, hereby respectfully
moves the Court for a continuance of the argument on the pending motion to substitute the
United States for President Donald Trump in the above-captioned action, which currently is
scheduled to be argued today at 3:30 p.m. As grounds for this motion, the United States
respectfully submits that this morning, when the attorney for the United States who was
designated to present argument in support of the motion for substitution, he was denied access to
the courthouse on the grounds that he had traveled from his place of residence in the
Commonwealth of Virginia, which yesterday, apparently, was added to the jurisdictions from
which the State of New York bans travel.


                                                    Sincerely,

                                                    /s/ Stephen R. Terrell

                                                    Stephen R. Terrell

cc: Counsel of Record (by ECF)
